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30 91 ev. 1B AA fG Bein SAUSA M. Claire Nicholson (312) 697-4073
UNITED STATES DISTRICT COURT

Lev 42019 NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

UNITED STATES OF AMERICA
CASE NUMBER:

: TI9CR 908

BERNBEE BONS MAGISTRATE JUDGE HARJANI
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge
and belief. On or about November 18, 2019, at Chicago, in the Northern District of Illinois, Eastern
Division, the defendant violated:

Code Section Offense Description

Title 18, United States Code, Section by intimidation, took from the person and

2113(a) presence of a bank employee approximately $200
in United States currency belonging to and in the
care, custody, control, management, and
possession of the Citibank located at 100 South
Michigan Avenue, Chicago, Illinois, the deposits
of which were then insured by the Federal
Deposit Insurance Corporation

This criminal complaint is based upon these facts:

_X_ Continued on the attached sheet. ZEA Z AZ =

ALEXIS FIGUEROA
Special Agent, Federal Bureau of Investigation

Sworn to before me and signed in my presence. j/ jf JL
Date: December 4, 2019 PS
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City and State: Chicago, Illinois Sunil R. Harjani, U.S. Magistrate Judge
Printed name and Title

 

 

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MAGISTRATE JUDGE
SUNIL R. HARJANI
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS ~
AFFIDAVIT

I, ALEXIS FIGUEROA, being duly sworn, state as follows:

1 Tama Special Agent with the Federal Bureau of Investigation, and have
been so employed since July 2015. I am currently working as part of the FBI Chicago
Violent Crimes Task Force. My current responsibilities are to investigate violent
crimes, including, among others, kidnaping, bank robbery, and the apprehension of
violent fugitives.

2. This affidavit is submitted in support of a criminal complaint alleging
that KENNETH E. JONES has violated Title 18, United States Code, Section
2113(a).

3. Because this affidavit is being submitted for the limited purpose of
establishing probable cause in support of a criminal complaint charging JONES with
bank robbery, I have not included each and every fact known to me concerning this
investigation. I have set forth only the facts that I believe are necessary to establish
probable cause to believe that the defendant committed the offense alleged in the
complaint.

4. This affidavit is based on my personal knowledge, information provided

to me by other law enforcement agents, and information that appears in law

enforcement records, interviews of witnesses, my review of surveillance videos and
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photographs, and my training and experience, as well as the training and experience
of other law enforcement agents.
I. FACTS SUPPORTING PROBABLE CAUSE

5. In summary, and as described further below, based on video surveillance
images, witness interviews, law enforcement surveillance, and information obtained
from law enforcement databases, there is probable cause to believe that KENNETH
E. JONES robbed the Citibank located at 100 South Michigan Avenue, Chicago,
Illinois, on November 18, 2019.

November 18, 2019 Robbery of Citibank

6. According to video surveillance images provided by Citibank, at
approximately 9:10 a.m. on November 18, 2019, a black male individual wearing
white shoes, dark-colored pants, a blue jacket with white fur on the collar, a dark-
colored hooded garment underneath the jacket with the hood on, and a black
drawstring backpack (the “robber”) entered the Citibank located at 100 S. Michigan
Avenue, Chicago, Illinois and robbed the bank. Citibank is located on the corner of
Michigan Avenue and Monroe Street.

7. According to the surveillance images, at approximately 9:08 a.m., the
robber entered the Citibank vestibule and removed a garment covering his face. The
robber is wearing white shoes, dark-colored pants, a blue jacket with white fur on the
collar, a dark-colored hooded garment underneath the jacket with the hood on, and a

black drawstring backpack.
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8. The image below shows the robber with a black drawstring backpack

with white lettering on the outside.

 

9. At approximately 9:08 a.m., the robber entered the bank lobby.
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11/18/2019
Pvwe

Surveillance
ILO44DvR1

  

10. At approximately 9:08 a.m.; the robber entered the customer line and
approached the teller counter with a white piece of paper in his hand. Teller A! was
sitting at the teller counter where the robber approached, and Teller B was on the far
left side of the counter. According to the surveillance video timestamp, the robber

entered the bank and approached the customer line in less than one minute.

 

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11. According to Teller A, the robber entered the Citibank wearing a black

face mask and removed the mask once inside the bank lobby. Teller A could see a

 

1 The depiction of the bank employees has been redacted to protect their privacy.
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white piece of paper in the robber’s hand when the robber approached the customer
line and Teller A’s counter. The robber approached Teller A’s counter and stated
something to the effect of, “I need $1,000.” Teller A responded that he did not have
$1,000.

12. The surveillance image below shows the robber approach Teller A’s

counter.

   

11/18/2019 09:10:14.49
Teller 2
Surveillance
ILO44DvR1

13. According to Teller A, after the robber made a demand for $1,000, Teller
A pressed the silent alarm button to which the robber responded, “I know you have
to do that.” When Teller A told the robber that he only had $300 in funds available,
the robber responded something to the effect of, “Tll take it.” Teller A then told the
robber if he wanted the money that he had to give Teller A the note, and the robber
handed Teller A the note. Teller A then removed $200 from his drawer and handed
it to the robber. The surveillance image below shows Teller A hand the robber the

money.
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11/18/2019 09:10:18.69
Teller 2

Surveillance
ILO44DvR1

   

14. According to Teller A, robber took the $200 and left the bank.
15. According to my review of the demand note left by the robber with Teller
A, the note was hand written and stated, “I need a $1000 from your register.” A copy

of the note recovered from the scene is shown below.

 

16. The surveillance images below show the robber exiting the bank without

a black mask or gloves on and headed westbound on Monroe Street.
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11/18/2019 09: 10:23.90
Height Strip 1

 

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17. According to Teller A, the robber was a black male, in his mid-20s,
approximately 5°10” to 5'11” in height, and approximately 150 to 160 pounds. The
robber was wearing a dark gray or black-colored hooded sweatshirt underneath a
blue jean jacket with a fuzzy cotton collar, white shoes, a “spaghetti strap” backpack,
a black scarf or face mask covering the bottom of his face, and not wearing gloves.

18. Teller B was also working at Citibank the morning of the robbery.
According to Teller B, at approximately 9:10 a.m., Teller B was standing near Teller
A at the teller counter when the robber approached. Teller B observed the robber
approach Teller A’s counter, and heard Teller A say to the robber something to the
effect of, “If you're robbing me, I need to see a note” and “I am going to push the
button.” Teller B then heard the robber tell Teller A not to push the button.

19. Teller B saw the robber hand over a note to Teller A and Teller A hand
money over to the robber. Teller B then saw the robber run out of the bank and head

westbound on Monroe Street.
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20. According to Teller B, the robber was a black male, in his mid-20s, with
a thin build, approximately 5’9” in height, wearing a jean jacket with fur around the
collar, something black around his neck, white shoes, and no gloves or hat.

21. Audit documentation provided by Citibank showed that $200 was eden
out of Teller A’s drawer during the robbery. In addition, documentation provided by
Citibank showed that on November 18, 2019, Citibank’s deposits were insured by the
Federal Deposit Insurance Corporation.

The Identification of JONES as the Robber

22. According to video surveillance images obtained by law enforcement
from buildings surrounding the Citibank, which I have reviewed, the robber exits the
Citibank and runs westbound on Monroe Street. On the video, the robber is wearing
white shoes, dark-colored pants, a blue jacket with white fur on the collar, a dark
color hooded garment underneath the jacket with the hood on, and a black drawstring
backpack. The surveillance image further shows the black drawstring back pack has
white writing on the outside. According to the surveillance video, the robber continues
to run westbound on Monroe Street and takes a left going southbound on Wabash

Avenue.
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23. Surveillance images from the building located at 134 South Wabash
Avenue captured the robber running southbound on Wabash Avenue and up the
staircase leading to the elevated train platform of the Chicago Transit Authority
(“CTA”) located at the intersection of Adams Street and Wabash Avenue.

24.  Avyreview of surveillance images from CTA shows the robber running up
the staircase and swiping what appears to be a CTA transit card at the turnstile. On
the video, the robber is wearing white shoes, dark-colored pants, a blue jacket with
white fur on the collar, a dark color hooded garment underneath the jacket with the
hood on, and a black drawstring backpack with white writing. I compared the CTA
surveillance image with the Citibank surveillance images and determined that the
man in the CTA surveillance appears to be the same individual who robbed the

Citibank.
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25. According to records obtained from CTA, a transit card associated with
the account number ending in 3968 was swiped at approximately 9:11 a.m. at the
Wabash/Adams CTA station. A review of the CTA account ending in 3968 shows that
the account holder is KENNETH JONES with a date of birth March X, 19XX.

26. According to the Illinois driver's license of JONES, JONES is
approximately 5’9” in height and 195 pounds and has the same date of birth as that
listed in JONES’ CTA transit account. I have reviewed the driver’s license
photograph of JONES as well as booking photographs of JONES taken from his prior
arrest by law enforcement. The individual depicted in those photographs appears to
be the same individual depicted in the Citibank surveillance images of the robber, as
well as the same individual depicted in the surveillance video entering the Adams
Street and Wabash Avenue CTA station shortly after the bank robbery.

27. On November 26, 2019, Teller A was shown photographs of 6 male

individuals, including JONES. The photograph of JONES shown to Teller A was

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the same booking photograph of JONES that I compared to his driver's license.
Teller A identified JONES as the robber.
CONCLUSION
28. Based on the foregoing facts, I respectfully submit that there is probable
cause to believe that, on or about November 18, 2019, KENNETH E. JONES, by
intimidation, took from the person and presence of a bank employee approximately
$200 in United States currency belonging to and in the care, custody, control,
management, and possession of a bank, namely, a Citibank located at 100 S.
Michigan Avenue, Chicago, Illinois, the deposits of which were insured by the Federal
Deposit Insurance Corporation, in violation of Title 18, United States Code, Section

2113(a).

FURTHER AFFIANT SAYETH NOT.

Alexis D. Figueroa
Special Agent
Federal Bureau of Investigation

ML AND SWORN to before me on December 4, 2019.

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a States Magistrate Judge

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